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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORTH WORTH DIVISION

    OAKWIND LTD.,                                        §
                                                         §
            Plaintiff,                                   §
                                                         §
    v.                                                   §
                                                         §     CIVIL ACTION NO. 4:17-CV-798
    MARKEL INSURANCE COMPANY,                            §
    EVANSTON INSURANCE COMPANY,                          §
    MARKEL SERVICE, INC., AND JASON                      §
    WESLEY WHITWORTH,                                    §
                                                         §
            Defendants.

         DEFENDANT EVANSTON INSURANCE COMPANY’S NOTICE OF REMOVAL

           Defendant Evanston Insurance Company (“Evanston”) files this Notice of Removal under

28 U.S.C. §§ 1332, 1441, and 1446 and states as follows:

                                                   I.
                                             INTRODUCTION

           1.      Plaintiff Oakwind, Ltd. (“Oakwind” or “Plaintiff”) commenced this lawsuit on

August 31, 2017 by filing Plaintiff’s Original Petition (“Petition”) in the 17th Judicial District

Court of Tarrant County, Texas – Cause No. 017-294389-17

           2.      Plaintiff’s Petition, which includes a jury demand, names Markel Insurance

Company (“MIC”), Evanston Insurance Company, Markel Service, Incorporated (“MSI”), and

Jason Wesley Whitworth (“Whitworth”) as defendants (collectively, “Defendants”).1 Whitworth

was an adjuster assigned to Plaintiff’s insurance claim which made the basis of this lawsuit.




1
 At this time, Defendants assert that only Whitworth is improperly joined in this lawsuit. However, Defendants do
not concede that either MIC or MSI is a proper party to this action, as the insurance policy at issue was issued by
Evanston.


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         3.        Plaintiff’s Petition contains the same causes of action against all Defendants,

alleging they committed violations of Section 541.060 of the Texas Insurance Code.2

         4.        Defendants were served with this lawsuit on September 5, 2017.

         5.        Evanston files this Notice of Removal within the 30-day time period required by

28 U.S.C. § 1446(b).

         6.        MIC and MSI consent to this removal.

         7.        Whitworth need not consent to removal as Evanston contends that he was

improperly joined. However, to the extent necessary, Whitworth consents to this Notice of

Removal as the undersigned attorneys represent all Defendants.

                                                  II.
                                          BASIS FOR REMOVAL

         8.        Venue is proper in this District under 28 U.S.C. § 1441(a) because the state court

where the action is pending is located in this District.

         9.        Removal is proper under 28 U.S.C. § 1332(a) if there is complete diversity between

the parties and the amount in controversy exceeds $75,000, exclusive of interest, costs and

attorneys’ fees. These two conditions are satisfied in this matter.

A.       Removal is Proper Because Complete Diversity of Citizenship Exists Between
         Plaintiff and MIC, Evanston Insurance Company, MSI

         10.       Plaintiff’s Petition states that Plaintiff is “a Domestic Limited Company and owns

the properties that are the subject of this lawsuit, which are located in Tarrant County Texas.3

Plaintiff Oakwind, Ltd. was at the time this lawsuit was filed, and at the date of this Notice remains,

a limited partnership with its general partner located in Irving, Texas. Accordingly, Plaintiff is a



2
     See Plaintiff’s Petition ¶¶ 27-31.
3
     See Plaintiff’s Petition, ¶ 1.


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citizen of the state of Texas for purposes of diversity of citizenship.

        11.      Defendant MIC was at the time this lawsuit was filed, and at the date of this Notice

remains, an Illinois insurance company with its principal place of business in Virginia. MIC is thus

a citizen of Illinois and Virginia for diversity jurisdiction purposes.

        12.      Defendant Evanston Insurance Company is an Illinois company with its principal

place of business in Illinois. Evanston Insurance Company is thus a citizen of Illinois for diversity

jurisdiction purposes.

        13.      Defendant MSI is a Virginia company with its principal place of business in

Virginia. MSI is thus a citizen of Virginia for diversity jurisdiction purposes.

        14.      Whitworth is a resident of the state of Texas and has been improperly joined to

defeat this Court’s diversity jurisdiction. Plaintiff does not have a reasonable possibility of

recovery from Whitworth in this lawsuit. His citizenship should therefore be disregarded for

jurisdictional purposes, and complete diversity of citizenship exists between Plaintiff, MIC,

Evanston Insurance Company, and MSI (now and on the date Plaintiff filed this lawsuit).

        15.      Because Plaintiff is a citizen of Texas and the properly joined defendants are not

citizens of Texas, complete diversity of citizenship exists (now and on the date Plaintiff filed this

lawsuit).

               i.         Plaintiff improperly joined Whitworth to defeat this Court’s diversity
                          jurisdiction.

        16.      A defendant is improperly joined when there is (1) actual fraud in the pleading of

jurisdictional facts, or (2) the plaintiff is unable to establish a cause of action against the non-

diverse defendant.4 This second condition is met when there is no reasonable possibility that the



4
    Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc).


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plaintiff might recover against the improperly-joined in-state defendant.5 A “reasonable

possibility” is more than a mere hypothetical possibility that an action against the non-diverse

defendant could exist.6

        17.      Per the Fifth Circuit, the improper joinder analysis requires an examination of

Plaintiff’s Petition under the Federal pleading standard.7 This requires Plaintiff to plead “enough

facts to state a claim to relief that is plausible on its face.”8 Stated differently, Plaintiff’s Petition

must include “more than labels and conclusions, and a formulaic recitation of the elements of a

cause of action will not do.”9

        18.      Plaintiff’s Petition is nothing more than formulaic recitations of the elements of the

alleged causes of action. As elaborated upon below, Plaintiff fails to demonstrate a reasonable

possibility of recovery against Whitworth.

                 ii.      Plaintiff has no reasonable possibility of recovery against Whitworth for
                          violations of Chapter 541 of the Texas Insurance Code.

        19.      Plaintiff alleges that Whitworth committed the following violations of Section

541.060(a) of the Texas Insurance Code:

                 Section 541.060(a)(1) – misrepresenting a material fact or policy provision related
                 to coverage;



5
    See id.
6
    See Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 1999).
7
    See Int’l Energy Ventures Mgmt., L.L.C. v. United Energy Grp., Ltd., 818 F.3d 193, 200-08 (5th Cir. 2016) (“And,
    because Smallwood requires us to use the Rule 12(b)(6)-type analysis, we have no choice but to apply the federal
    pleading standard embodied in that analysis.”); see also Petree v. Metro Lloyds Ins. Co. of Texas, 2016 WL
    3095092, at *2 (N.D. Tex. June 2, 2016) (“Although there has been some uncertainty as to the pleading standard
    to be applied, the Fifth Circuit has most recently held that federal courts should use the federal court pleading
    standard when conducting the Rule 12(b)(6)-type analysis of an improper joinder claim in a motion to remand to
    determine if the plaintiff has stated a claim against a nondiverse defendant.”).
8
    Petree, 2016 WL 3090592, at *3 (quoting Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 570 (2007)).
9
    Twombly, 550 U.S. at 555.


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                   Section 541.060(a)(2)(A) – failing to attempt in good faith to effectuate a prompt,
                   fair, and equitable settlement of a claim with respect to which the insurer’s liability
                   has become reasonably clear;

                   Section 541.060(a)(3) – failing to promptly provide a policyholder with a
                   reasonable explanation of the basis for the insured’s denial of a claim;

                   Section 541.060(a)(7) – refusing to pay a claim without conducting a reasonable
                   investigation.10

         20.       The courts of this District have found these allegations insufficient to support an

independent cause of action against adjusters like Whitworth.11 Texas law permits claims adjusters

to be held individually liable for violations of the Texas Insurance Code.12 “But for an adjuster to

be held individually liable, [he] must have committed some act that is prohibited by the [Code],

not just be connected to an insurance company’s denial of coverage.”13 In other words, an adjuster

cannot be held individually liable for violations of the Texas Insurance Code unless there is an

independent injury to the plaintiff that is separate from the contractual damages arising from the




10
     See Plaintiff’s Petition ¶¶ 39-49.
11
     See, e.g., Mainali Corp. v. Covington Specialty Ins. Co., 3:15-CV-1087-D, 2015 WL 5098047, at *4 (N.D. Tex.
     Aug. 31, 2015); Together 6 LLC v. Burlington Ins. Co., Civil Action No. 4:15-CV-064-Y, 2015 WL 11120522,
     at *3 (N.D. Tex. Apr. 22, 2015) (Means, T.) (holding that the plaintiff failed to state viable claims against an
     adjuster under §§541.060(a)(1), (a)(2)(A), (a)(3), (a)(4), and (a)(7) of the Texas Insurance Code.
12
     Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F.Supp.3d 721, 724 (N.D. Tex. 2014) (Solis, J.).
13
     Id. “[E]ven though an adjuster is a “person” [against whom claims may be asserted] under the Insurance Code,
     an adjuster cannot be held liable for violation of the Code unless he causes an injury distinguishable from the
     insurer's actions.” Aguilar v State Farm Lloyds, No. 4:15–CV–565–A, 2015 WL 5714654, at *3 (N.D. Tex. Sept.
     28, 2015) (McBryde, J.). “In other words, the adjuster must have committed some act prohibited by the statute,
     not just be connected to an insurance company's denial of coverage.” Id.


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carrier’s alleged breach of contract.14 Absent actual damages, other than the unpaid policy benefits,

there is no cause of action against an adjuster under Chapter 541 of the Texas Insurance Code.15

         21.      The focus of Plaintiff’s allegations against Whitworth relate directly to unpaid

policy benefits. Plaintiff has not pled any facts demonstrating an additional and independent injury,

meaning Plaintiff does not have a reasonable possibility of recovery against Whitworth under

Chapter 541 of the Texas Insurance Code.

         22.      Moreover, Plaintiff makes unsupportable and inadmissible factual allegations

pertaining to communications between Whitworth and Plaintiff’s agent. The statements are

baseless and are not to be given any weight, and as such, do not support any causes of action

asserted by Plaintiff.

                  iii.     Plaintiff’s Petition bears a “badge of improper joinder” recognized by this
                           Court.

         23.      Not only has Plaintiff failed to demonstrate a reasonable possibility of recovery

from Whitworth, but Plaintiff’s Petition also bears a “badge of improper joinder” recognized by

this Court.16 In particular, Plaintiff has no “plausible reason for suing [Whitworth] other than to

defeat diversity jurisdiction.”17 There is no credible reason why a favorable judgment on Plaintiff’s

claims against Evanston, MIC, and/or MSI (if warranted) would fail to afford Plaintiff full and




14
     See, e.g., Charla D. Aldous, PC v. Lugo, No. 3:13-CV-3310-L, 2014 WL 5879216, at *4-6 (N.D. Tex., Nov. 12,
     2014) (Lindsay, S.) (“the Texas Supreme Court left no doubt that an independent injury was required to recover
     under the Texas Insurance Code.”).
15
     See, e.g., Messersmith, 10 F.Supp.3d 721 (finding no reasonable possibility of recovery against an adjuster for,
     in part, lack of independent injury).
16
     See Plascencia v. State Farm Lloyds, Civ. A. 4:14-CV-00524-A, 2014 WL 11474841 at *14 (N.D. Tex. Sept. 25,
     2014) (Mem. Op.) (McBryde, J.); see also Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F.Supp.3d at 724-
     25 (N.D. Tex. 2014) (Solis, J.).
17
     See Plascencia, 2014 WL 11474841 at *15-18.


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complete relief. Nor is there any “suggestion that a recovery by [P]laintiff against [Whitworth]

would provide any financial gain to [P]laintiff.”18 Because the core of Plaintiff’s Petition is that

Evanston failed to pay what Plaintiff feels it is owed under the Evanston policy, it is clear that

Plaintiff’s claims against Whitworth are intended solely to deprive this Court of jurisdiction.

         24.       In fact, Plaintiff’s Petition makes broad allegations that all “Defendants” committed

the following violations of Section 541.060 of the Texas Insurance Code:

                   “Defendants’ conduct constitutes a violation of the Texas Insurance
                   Code Unfair Settlement Practices. Tex. Ins. Code § 541.060(a)(1).”

                   “Defendants’ conduct is a violation of the Texas Insurance Code,
                   Unfair Settlement Practices. Tex. Ins. Code § 541.060(a)(3).”

                   “Defendants’ conduct is a violation of the Texas Insurance Code,
                   Unfair Settlement Practices. Tex. Ins. Code § 541.060(a)(4).”

                   “Defendants’ conduct is a violation of the Texas Insurance Code,
                   Unfair Settlement Practices. Tex. Ins. Code § 541.060(a)(2)(A).”

                   “Defendants’ conduct is a violation of the Texas Insurance Code,
                   Unfair Settlement Practices. Tex. Ins. Code § 541.060(a)(7).”19

         25.       These assertions made against all Defendants concern alleged unfair settlement

practice. Clearly, Plaintiff’s allegations are centered on Evanston’s failure to settle the claim under

the Policy issued by Evanston. A favorable judgment on Plaintiff’s claims against Evanston, MIC,

and/or MSI (if warranted) would afford Plaintiff full and complete relief. Thus, Whitworth was

joined solely to defeat diversity jurisdiction.




18
     Id. at 16 (quoting Dougherty v. State Farm Lloyds, No. 4:01-CV-611-A, 2001 WL 1041817, at *2 (N.D. Tex.
     Aug. 30, 2001)).
19
     See Plaintiff’s Petition ¶¶ 27-31.


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B.       Removal is Proper Because Plaintiff’s Claimed Damages Exceed This Court’s
         Jurisdictional Threshold of $75,000.

         26.       If it is facially apparent that Plaintiffs’ claims in this suit exceed $75,000, exclusive

of interest, costs, and attorney’s fees, Evanston’s burden to establish the amount in controversy

exceeds this Court’s jurisdictional threshold is satisfied.20

         27.       Here, Plaintiff’s Petition states that Plaintiff seeks to recover more than $1,000,000

in this lawsuit.21 It is thus facially apparent that Plaintiffs’ claims exceed this Court’s jurisdictional

threshold of $75,000.

                                                   III.
                                               CONCLUSION

         28.       Because there is complete diversity between the parties and the amount in

controversy exceeds $75,000 (excluding interest, costs, and attorneys’ fees), removal of this action

is proper under 28 U.S.C. § 1332(a).

         29.       Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be filed

with the clerk of the District Clerk of Tarrant County, Texas promptly after the filing of this Notice.

         30.       As required by 28 U.S.C. § 1446(a), and Local Rule 81.1, a copy of each of the

following are attached to (or filed with) this Notice:

                   a.        An Index of Matters Being Filed, attached hereto as Exhibit A
                   b.        The State Court Docket Sheet, attached hereto as Exhibit B

                   c.        Plaintiff’s Original Petition, attached hereto as Exhibit C

                   d.        Defendants’ Original Answer, attached hereto as Exhibit D




20
     Allen v. R&H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1999).
21
     See Plaintiffs’ Petition ¶ 7.


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                e.       Certificate of Interested Persons and Rule 7.1 Disclosure Statement,
                         attached hereto as Exhibit E;

        31.     Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice will be given

to all adverse parties promptly after the filing of this Notice.

        WHEREFORE, Defendant Evanston Insurance Company requests that this action be

removed from the 17th Judicial District Court of Tarrant County, Texas, to the United States

District Court for the Northern District of Texas, Fort Worth Division, and that this Court enter

such further orders as may be necessary and appropriate.



                                                      Respectfully submitted,

                                                      ZELLE LLP


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                                   CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of Defendant Evanston Insurance Company’s
Notice of Removal and exhibits have been served this 5th day of October, 2017, in accordance
with the Federal Rules of Civil Procedure:

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        ATTORNEY FOR PLAINTIFF


                                                            /s/ Todd M. Tippett
                                                          Todd M. Tippett




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